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                    IN THE UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF MISSISSIPPI
IN RE:
MAGEE BENEVOLENT ASSOCIATION D/B/A MGH                            CHAPTER 11
            Debtor                                     CASE NO. 18-03283-KMS
______________________________________________________________________________

                 TRUSTMARK NATIONAL BANK’S RESPONSE
                   TO DEBTOR’S EMERGENCY MOTION TO
         USE CASH COLLATERAL AND FOR OTHER RELIEF (DKT. # 3)
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       Trustmark National Bank (“Trustmark”) for its response to the Debtor’s Emergency

Motion to Use Cash Collateral and For Other Relief (Dkt. # 3) would state as follows:

       1.      On August 24, 2018, Magee Benevolent Association, d/b/a MGH (“Debtor”) filed

its voluntary petition for relief pursuant to Chapter 11 in this Court. That same day, the Debtor

filed this motion seeking permission to use cash collateral on a 15-day emergency basis.

       2.      Trustmark is a secured creditor in this case by virtue of the following:

               a. On or about May 9, 2007, the City of Magee, Mississippi issued a $5,500,000

                   City of Magee Hospital Revenue Bond, Series 2007A (Magee General

                   Hospital Project) (“A Bonds”) and a $2,000,000 City of Magee, Mississippi

                   Hospital Revenue Bond, Series 2007B (Magee General Hospital Project) (“B

                   Bond”)(together the “Series 2007 Bonds”) the proceeds of which were loaned

                   by the City to the Debtor which owns a hospital facility know as Magee

                   General Hospital (the “Hospital”) and located in Magee.

               b. The Bonds were purchased by Trustmark pursuant to that certain Loan and

                   Bond Purchase Agreement dated as of April 1, 2007, and executed by the

                   City, the Borrower and the Lender (the “Loan Agreement”). Under the Loan

                   Agreement, the Borrower granted a security interest to the Bondholder in, to
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            and under, inter alia, the Net Revenues as defined in the Loan Agreement.

            The Bonds are public finance bonds under Mississippi law. The Bond

            Purchaser’s security under the Loan and Bond Purchase Agreement is

            perfected by that certain UCC-1 Public Finance Financing Statement

            #20070153188G filed on July 15, 2007 with the Mississippi Secretary of

            State, which under Mississippi law is effective for a period of 30 years from

            the date of filing. A copy of the UCC-1 Public Finance Financing Statement

            is attached hereto as Exhibit A.

         c. The Bonds were further secured by a Deed of Trust, Security Agreement and

            Financing Statement executed by the Debtor on May 8, 2007 in favor of

            Trustmark pursuant to which the Debtor granted Trustmark a first lien security

            interest in the hospital property and all improvements and fixtures which deed

            of trust was filed of record in the office of the Chancery Clerk of Simpson

            County, Mississippi on May 17, 2007 in Book 2156 at Page 56.

         d. The Bonds were further secured by a Security Agreement dated May 8, 2007,

            pursuant to which the Debtor granted Trustmark a security interest in the

            following:

                All Net Revenues of Debtor, as defined in that certain Loan
                and Bond Purchase Agreement dated as of April 1, 2007,
                by and among City of Magee, Mississippi, Magee
                Benevolent Association d/b/a Magee General Hospital and
                Trustmark National Bank; all of Debtor’s accounts
                receivable, contract rights, general intangibles, inventory,
                furniture, fixtures and equipment, including, but not limited
                to, the capital equipment listed therein and all other goods
                of the same class whether now owned or hereafter acquired
                by Debtor, and the proceeds thereof, in connection with the
                operation, use and occupancy of the hospital.

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                  e. Trustmark perfected its security interest in the assets described in the Security

                      Agreement by filing a UCC-1 Financing Statement #20070098239A on May

                      10, 2007, which statement has been continued by virtue of a continuation

                      statement filed with the Secretary of State on March 30, 2012

                      #20120666050B and on April 6, 2017 #20172247694B. Copies of the UCC-1

                      Financing Statement and continuations are attached hereto as Exhibit B.

                      Based on the Loan and Bond Purchase Agreement and the Security

                      Agreement and the financing statements filed to perfect the security interests,

                      the accounts receivable of the Debtor are Trustmark’s collateral as is the cash

                      collateral generated from the receivables.

         3.       As of the petition date, the Debtor owed Trustmark $3,927,598.12 on the A Bond

with interest accruing at the per diem rate of $493.109 and $178,561.63 on the B Bond with

interest accruing at the per diem rate of $22.2307. These amounts are not subject to any dispute

and Trustmark’s perfected security interest is not subject to any dispute.1

         4.       The Debtor cannot use Trustmark’s cash collateral without permission.

Trustmark does not object to the emergency use of its cash collateral provided the its perfected

lien is recognized as to the Debtor’s accounts receivables and the proceeds thereof and the Court

grants Trustmark a fully secured replacement lien on all the assets of the Debtor, including any

post-petition accounts receivable and provided the Debtor only uses the cash collateral to pay the

items approved by the Court based on a budget agreed to by Trustmark.

         5.       Trustmark reserves it right to withdraw the consent to use of its cash collateral

and by consenting to the emergency use for a 15-day period, it does not agree to allow the use of
1
 The Debtor is also obligated to Trustmark on an additional note which has a balance due as of the petition date of
$252,573.95.

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its cash collateral on a going forward basis.

       Trustmark respectfully requests that this Court condition the emergency use of its cash

collateral upon providing it with a fully secured replacement lien on all of the Debtor’s assets

including but not limited to accounts receivable.

       Respectfully submitted this 27th day of August, 2018.

                                                    TRUSTMARK NATIONAL BANK

                                                    By: /s/ Jim F. Spencer, Jr.
                                                    Jim F. Spencer, Jr.
                                                    One of its attorneys

OF COUNSEL

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                               CERTIFICATE OF SERVICE
       I, Jim F. Spencer, Jr., do hereby certify that I have caused to be served the above and for
going pleading on all parties requesting notice by using the ECF filing system of the court and
have also served separately a copy of said pleading by email on the following:

               Craig M. Geno cmgeno@cmgenolaw.com
               Christopher J. Steiskel, Sr. Christopher.j.steiskal@usdoj.gov

       This 27th day of August, 2018.
                                                            _/s/ Jim F. Spencer, Jr.__
                                                                Jim F. Spencer, Jr.




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